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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                             GAINESVILLE DIVISION


UNITED STATES OF AMERICA

vs.                                              CASE NO. 1:09-cr-25-SPM-AK

RODOLFO PEREZ,

        Defendant.
                                         /

                             REPORT AND RECOMMENDATION

        On this date, the Defendant, Rodolfo Perez, his attorney, the attorney for the

Government, and the translator appeared before the undersigned for the purpose of

considering Defendant’s entry of a guilty plea to Count Two of the charges in this

Indictment. The district judge referred this matter to the undersigned for purposes of

hearing Defendant's proposed change of plea pursuant to Fed.R.Crim.P. 11 and to

enter a report and recommendation as to whether to accept the change of plea. All

parties consented to this procedure, and the written consent has been entered.

        Approximately one hour before convening court, defense counsel and the

translator were furnished with a copy of the Court’s Guilty Plea Inquiry and directed to

meet in private with Defendant to review the inquiry with him line by line to ensure

Defendant understood the guilty plea proceedings and the consequences of his decision

to enter a plea of guilty.
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         The Court addressed Defendant personally in open court, and after assuring that

Defendant was competent to proceed and had consented to pleading guilty, the Court

finds:

         1. Defendant is mentally alert, appears to be reasonably intelligent, and

understands the nature of the charges as to which the plea is offered and the

consequences of a guilty plea.

         2. Defendant understands that he has a right to trial by jury, to persist in his plea

of not guilty, to assistance of counsel at trial, to confront and cross-examine adverse

witnesses, and that he has a right against compelled self-incrimination.

         3. Defendant understands the maximum possible sentence he faces if the guilty

plea is accepted, including the effect of the supervised release term, and understands

that the sentencing guidelines apply and that the court may depart from those

guidelines under some circumstances.

         4. The plea of guilty by the Defendant has been freely, knowingly, and voluntarily

made and is not the result of force or threats or of any promises except for those

promises contained in the written plea agreement between the parties.

         5. Defendant is competent to plead guilty.

         6. Defendant understands that his answers during the plea colloquy, which were

under oath, may be later used against him in a prosecution for perjury or false

statement.

         7. There is a factual basis for Defendant’s guilty plea.

         8. There is a plea agreement which should be accepted by the district court.

Defendant understands the terms of the plea agreement.

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        9. Defendant has made his decision to plead guilty with the advice and counsel

of a competent attorney with whom Defendant acknowledged he was satisfied.

       10. Defendant has voluntarily consented to go forward with his plea of guilty

before the undersigned. He understands that he has waived the 14-day period for filing

objections to this report and recommendation, and he agrees that he has 24 hours from

receipt of a copy of this report and recommendation in which to file written objections, if

any. The United States also consents to this procedure, including the shorter period for

objections.

        Accordingly, it is RECOMMENDED that the Court ACCEPT the plea agreement

and Defendant’s plea of guilty.

        IN CHAMBERS at Gainesville, Florida, this     17th day of December, 2009.



                                          s/ A. KORNBLUM
                                          ALLAN KORNBLUM
                                          UNITED STATES MAGISTRATE JUDGE



                                  NOTICE TO THE PARTIES

     A party may file specific, written objections to the proposed findings and
recommendations within 24 hours after receiving a copy of this report and recommendation.




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